Case 2:21-bk-16674-ER        Doc 93 Filed 01/25/22 Entered 01/25/22 10:15:11                                   Desc
                              Main Document    Page 1 of 2



 1   PETER C. ANDERSON
     UNITED STATES TRUSTEE
 2   JILL M. STURTEVANT, State Bar No. 089395
     ASSISTANT UNITED STATES TRUSTEE
 3   HATTY YIP, State Bar No. 246487
     TRIAL ATTORNEY
 4   OFFICE OF THE UNITED STATES TRUSTEE
     915 Wilshire Blvd, Suite 1850
 5   Los Angeles, California 90017
     (213) 894-1507 telephone
 6   (213) 894-2603 facsimile
     Email: hatty.yip@usdoj.gov
 7

 8
                                  UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                         LOS ANGELES DIVISION
11
     In re:                                          )   Case No.: 2:21-bk-16674-ER
12                                                   )
                                                     )   Chapter 11
13   JINZHENG GROUP (USA) LLC,                       )
                                                     )   NOTICE OF APPOINTMENT AND
14                   Debtor(s).                      )   APPOINTMENT OF COMMITTEE OF
                                                     )   CREDITORS HOLDING UNSECURED
15                                                   )   CLAIMS
                                                     )
16                                                   )
17            Pursuant to 11 U.S.C. Section 1102(a), the undersigned hereby appoints the following three
18   (3) Creditors to serve on the Committee of Creditors holding unsecured claims:
19                                      SEE ATTACHED EXHIBIT A
20
     DATED: January 25, 2022                               Respectfully submitted,
21                                                         PETER C. ANDERSON
                                                           UNITED STATES TRUSTEE
22
                                                                                    Digitally signed by JILL
                                                            JILL STURTEVANT STURTEVANT
23                                                         _______________________________
                                                                              Date: 2022.01.25 09:46:13 -08'00'


                                                           By:     JILL M. STURTEVANT
24
                                                                   Assistant United States Trustee
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Case 2:21-bk-16674-ER        Doc 93 Filed 01/25/22 Entered 01/25/22 10:15:11   Desc
                              Main Document    Page 2 of 2



 1                                            EXHIBIT A

 2   In re: Jinzheng Group (USA) LLC, Case No. 2:21-bk-16674-ER
 3   Betula Lenta, Inc.
     David Park
 4   800 West 6th Street, Suite 1250
     Los Angeles, CA 90017
 5   (213) 537-0158
     david@thecodesolution.com
 6
     Pennington Construction Advisors, Inc.
 7   Todd Pennington
     79 Bell Pasture Rd.
 8   Ladera Ranch, CA 92694
     (949) 637-6210
 9   todd@penncoinc.com
10   The Phalanx Group, Inc.
     Anthony Rodriguez
11   424 E. 1st Street, Unit #10
     Los Angeles, CA 90015
12   (213) 494-8542
     anthony@phalanx.group
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